          .      Case 15-21275
                                         UNITED STATES BANKRUPTCY COURT
                                       Doc 151 Filed 12/16/19 Entered 12/23/19 11:49:31                               Page 1 of 2
                                             DISTRICT OF CONNECTICUT


         Debtor 1     ~ °g_ e,c
                     First N   e          Middle Name
                                                            .o ot,l//h
                                                                 Last Name
                                                                            c,...rd.           Case number:               / 5- ;1./;}    7.S
                                                                                               Chapter:               2
      Debtor 2
     (Spouse, if filing) First Name       Middle Name            Last Name

      Form 1340 (12/19)

      APPLICATION FOR PAYMENT OF UNCLAIMED FUNDS

      1. Claim Information

      For the benefit of the Claimant(s) 1 named below, application is made for the payment of unclaimed funds on deposit with
      the court. I have no knowledge that any other party may be entitled to these funds, and I am not aware of any dispute
      regarding these funds.

      Note: If there are joint Claimants, complete the fields below for both Claimants.
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      Amount:                                                                                               0,.,,
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      Claimant's Name:                                                                                       ·, en        rn
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      Claimant's Current Mailing              I I I b,e,,e<..f! /~Id oJe,                             00:;o
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      Address, Telephone Number,                                                                      C,z-o               )>
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      and Email Address:                                                                                    On
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                                               m                                                            -i c:
      2. Applicant Information                                                                                 -I



      Applicant2 represents that Claimant is entitled to receive the unclaimed funds because (check the statements that
      apply):

     ~        Applicant is the Claimant and is the Owner of Record 3 entitled to the unclaimed funds appearing on the records of
              the court.
     UV""       Applicant is the Claimant and is entitled to the unclaimed funds by assignment, purchase, merger, acquisition,
                succession or by other means.

     □          Applicant is Claimant's representative (e.g., attorney or unclaimed funds locator).

     □        Applicant is a representative of the deceased Claimant's estate.
     3. Supporting Documentation
     ✓        Applicant has read the court's instructions for filing an Application for Unclaimed Funds and is providing the required
              supporting documentation with this application.




1
    The Claimant is the party entitled to the unclaimed funds.
2
    The Applicant is the party filing the application. The Applicant and Claimant may be the same.
3
    The Owner of Record is the original payee.
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       4."' Notice to United States Attorney
                                                              Filed 12/16/19          Entered 12/23/19 11:49:31            Page 2 of 2

       ~       Applicant has sent a copy of this application and supporting documentation to the United States Attorney,
               pursuant to 28 U.S.C. § 2042, at the following address:

                                                               Office of the United States Attorney
                                                                      District of Connecticut
                                                                 Connecticut Financial Center
                                                                          157 Church St.
                                                                     New Haven CT 06510



      5. Applicant Declaration                                                       5. Co-Applicant Declaration (if applicable)
      Pursuant to 28 U.S.C. § 1746, I declare under penalty of                       Pursuant to 28 U.S.C. § 1746, I declare under penalty of
      perjury under the laws of the United States of America                         perjury under the laws of the United States of America
      that the foregoing is true and correct.                                        that the foregoing is true and correct.

                                                                                     Date:


           ~ ~--'2__
      Signa~ofApplicant                                                              Signature of Co-Applicant (if applicable)



                  ame of Applicant                                                   Printed Name of Co-Applicant (if applicable)



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      6. Notarization (                 f ,    ...L                                  6. Notarization
      STATE OF              Q(\()eCi I        c~                                     STATE OF_ _ _ _ _ _ _ _ _ _ _ _ _ __

      couNTYOF          Ne_w H°'vt.rl                                                COUNTY OF_ _ _ _ _ _ _ _ _ _ _ _ __

      This Ap~ication fo!Unclaimed Funds, dated P- - II. - t 'l                      This Application for Unclaimed Funds, dated
 Ro fll.C      o Ul ~ o,.r ~ was subscribed and sworn to before                      _ _ _ _ _ _ was subscribed and sworn to before
      methis I Is, day of      0cc, bl.
                                    a     C       , 20 I 4 by                        me this___day of                          . 20_ _by

        KoQe c           6oucho.r-d
  who sig'hild above and is personally known to me (or                               who signed above and is personally known to me (or
  proved to me on the basis of satisfactory evidence) to be                          proved to me on the basis of satisfactory evidence) to be

      instrument. WITNESS my hand
  (SEAL)
                                         :N»1L!-!:_
  the person whose name is subscribed to the within


                         Notary Public-#2...,..~-----,.~--~-fil_..,_ (J
                                                                  / ____ (SEAL)
                                                                                     the person whose name is subscribed to the within
                                                                                     instrument. WITNESS my hand and official seal.

                                                                                                     Notary Public_ _ _ _ _ _ _ _ __
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 ,.        •                    My commission expires: I / 'J \            2 a'2,3                    My commission expires:
                   v




Form 1340                            Application for Payment of Unclaimed Funds                                                          Page2
